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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY, Docket No.:
GEICO GENERAL INSURANCE COMPANY and 1:22-cv-03728-LDH-SJB
GEICO CASUALTY COMPANY,
Plaintiffs,
-against-

ERIC KENWORTHY, M.D. et al.,

Defendants.

 

STIPULATION GF DISMISSAL WITHOUT PREJUDICE

It is hereby stipulated and agreed by and between the undersigned counsel for Plaintiffs,
Government Employees Insurance Company, GEICO Indemnity Company, GEICO General
Insurance Company and GEICO Casualty Company (collectively “Plaintiffs’”) and Defendants, Eric
Kenworthy, M.D., Eric Kenworthy M.D. (A Sole Proprietorship), Eric Kenworthy (A Sole
Proprietorship) and Yana Mironovich (collectively, the “Defendants’”) that all claims by Plaintiffs
against the Defendants are dismissed without prejudice pursuant to Fed. R. Civ. Proc. 41 (a).
Plaintiffs and the Defendants shall bear their own costs and attorneys’ fees in connection with the

prosecution and/or defense of this action.

Dated: Sepia anon IE, 2022

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Counsel for \Plaintiffs,

Government Employees

Insurance Company, GEICO Indemnity Company,
GEICO General Insurance Company and GEICO

Casualty Company

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